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                    IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

IN RE BROILER CHICKEN ANTITRUST               Case No.: 1:16-cv-08637
LITIGATION,


This Document Relates To:
                                              Hon. Thomas M. Durkin
THE DIRECT PURCHASER PLAINTIFF
ACTION                                        Magistrate Judge Jeffrey T. Gilbert




DIRECT PURCHASER PLAINTIFFS’ RESPONSE TO PLAINTIFF SERVICES GROUP
 OF AMERICA, INC.’S NOTICE OF OPT-OUT AND OBJECTION TO LIST OF OPT-
   OUTS WITH RESPECT TO THE DIRECT PURCHASER CLASS PLAINTIFFS’
    SETTLEMENTS WITH GEORGE’S AND PECO DEFENDANTS, OR IN THE
     ALTERNATIVE, MOTION FOR LATE OPT-OUT FROM SETTLEMENTS




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I.         INTRODUCTION

           Direct Action Plaintiff Services Group of America, Inc. (“SGA”) filed this notice,

objection, and motion after it missed the deadline to opt out of the settlements between Direct

Purchaser Plaintiffs (“DPPs”), and Defendants Peco Foods, Inc., George’s, Inc., and George’s

Farms, Inc. (collectively, the “Settlements”). DPPs take no position with regard to SGA’s

arguments regarding effective or permissive exclusion from the Settlements. (Dkt. No. 3394, at

§§ II.A, II.C). However, for the reasons detailed herein, DPPs oppose SGA’s argument that the

notice program approved by the Court and fully implemented by the Settlement Administrator

does not satisfy Rule 23 or due process.

II.        BACKGROUND

           JND Legal Administration (“JND”), the Court-appointed Settlement Administrator,

designed and implemented the Notice Program in this Action. The Court first approved the

Notice Program in its Corrected [Proposed] Order Granting Direct Purchaser Plaintiffs’ Motion

for Preliminary Approval of the Settlements with Defendants Peco Foods, Inc., George’s, Inc.,

and George’s Farms, Inc., and Amick Farms, LLC, dated January 8, 2020 (Dkt. No. 3394)

(“Court Order”). Subsequently, on October 20, 2020, the Court entered final judgment and

granted final approval to the Direct Purchaser Plaintiffs’ Settlement with Defendants Peco

Foods, Inc., George’s, Inc., and George’s Farms, Inc. (Dkt. No. 3933) and Amick Farms, LLC

(Dkt. No. 3934). In granting final approval of the Settlements with Defendants Peco Foods, Inc.,

George’s, Inc., and George’s Farms, Inc., and Amick Farms, LLC, the Court also approved the

Notice Program, finding that it fully satisfied the requirements of Rules 23(c)(2) and 23(e)(1) of

the Federal Rules of Civil Procedure and the requirements of due process. Id. As outlined in the




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Court’s Order and the notice documents, March 9, 2020 was the last day for Settlement Class

Members to request exclusion from the Settlement Class. (Dkt. No. 3394, at p. 4; Exs. A-C.).

           Consistent with Rule 23 of the Federal Rules of Civil Procedure and applicable state

court rules, all forms of the Court-approved Notice advised Class Members of their rights and

options under the Settlements, including deadlines to object or request exclusion, among other

information. The Notice Program, following a model commonly used in class actions, included

direct mail notice, e-mail notice, publication notice and digital media notice, and was designed to

reach as many Class Members as possible. It provided the best practicable notice under the

circumstances in this Action. As more thoroughly described herein, JND fully implemented the

notice in accordance with the Notice Program.

           SGA missed the March 9, 2020 deadline to opt out from the Settlements, which was

plainly set forth in the Court Order and notice documents. SGA filed the instant motion on

January 19, 2021 nearly eleven months after the March 9, 2020 opt out deadline. (Dkt. No.

4187).

III.       ARGUMENT

           A.     The Court-Approved Notice Program Satisfies Due Process and Has Been
                  Fully Implemented

           Rule 23(e) requires that prior to final approval, notice of a proposed settlement be given

in a reasonable manner to all class members who would be bound by such a settlement. When a

proposed class action settlement is presented for court approval, Rule 23 requires “the best notice

that is practicable under the circumstances,” and that certain specifically identified items in the

notice be “clearly and concisely state in plain, easily understood language.” Fed. R. Civ. P.

23(c)(2)(B). Neither Rule 23 nor due process requires receipt of actual notice by all class

members. Mangone v. First USA Bank, 206 F.R.D. 222, 231 (S.D. Ill. 2001); Silber v. Mahon, 18



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F.3d 1449, 1453-1454 (9th Cir. 1994) (concluding that the standard for class notice is “best

practicable,” rather than “actually received” notice). In fact, “[c]ourts have consistently

recognized that due process does not require that class members actually receive notice. Juris v.

Inamed Corp., 685 F.3d 1294, 1321 (11th Cir. 2012); In re Adelphia Commc’ns Corp. Sec. &

Derivatives Litig., 271 F. App’x. 41, 44 (2d Cir. 2008) (“For due process to be satisfied, not

every class member need receive actual notice [of the class settlement], as long as class counsel

“acted reasonably in selecting means likely to inform persons affected.”).

           The Notice Program approved by this Court—which relies primarily on direct notice to

Class members via mail and email, supplemented by publication notice—satisfies this standard

and is commonly used in class actions like this one. Amchem Prods., Inc. v. Windsor, 521 U.S. at

617 (quoting Fed. R. Civ. P. 23(c)(2)); City of Greenville v. Syngenta Crop Prot., No. 3:10-CV-

188, 2012 WL 1948153, at *4 (S.D. Ill. May 30, 2012) (same); Fed. R. Civ. P. 23(c)(2)(B). It

constitutes valid, due, and sufficient notice to class members, and is the best notice practicable

under the circumstances.

           The Settlement Administrator implemented the notice plan in accordance with the Court

Order. Working with Class Counsel’s data expert, who standardized customer names, and

following JND’s analysis to identify duplicate records, JND isolated the unique Class Member

records. Declaration of Jennifer M. Keough in Support of DPPs’ Response to SGA’s Motion

(“Keough’s Fourth Decl.”) ¶ 7. These records were then compared to the final Class Member

data from the earlier settlement with Fieldale Farms Corporation (“Fieldale Settlement”) to

ensure that all the Class Members previously identified in the Fieldale Settlement were included

in the Notice Program. Id. Ultimately, a list was established containing 26,676 unique Class

Members (“Class List”). Id.




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           On January 8, 2020, in compliance with the Court’s Order, JND mailed the Long Form

Notice to all Class Members on the Class List with a mailing address. Id., at ¶ 9. Additionally, on

January 8, 2020, in compliance with the Court’s Order, JND emailed the Email Notice to Class

Members on the Class List for whom email addresses were available. Id., at ¶ 10. Those Long

Form Notices that were returned as undeliverable with a forwarding address were promptly re-

mailed. Id., at ¶ 9. For those Long Form Notices returned without a forwarding address, JND

conducted an advanced address research through TransUnion, one of the nation’s leading credit

bureaus.1 Id. In compliance with the Court’s Order, JND promptly re-mailed the Long Form

Notice to all updated addresses provided by TransUnion. Id. The direct notice program resulted

in a deliverability rate via mail or email of 85.5% of identified class members, which represents

“a very high deliverability rate for a mail/email program.” Id., at ¶ 11.

           In addition to the direct notice component of the Notice Program, JND published the

Summary Notice in numerous print publications designed to reach potential Class Members. Id.,

at ¶ 12. Those print publications included: Poultry Times, Meat + Poultry, Supermarket News,

Progressive Grocer, Grocery Headquarters, and Frozen and Refrigerated. Id. All of these

publications were carefully selected by the JND Legal Notice Team to provide the best

practicable notice of the Settlements to Class Members. Id. To further supplement the Notice

Program and in compliance with the Court’s Order, JND also conducted an internet advertising

campaign to inform Class Members about the Settlements. Id., at ¶ 13. The internet campaign

included banner display advertisements, which contained links to the Settlement Website

(www.broilerchickenantitrustlitigation.com/documents),        on   various   digital   publications,



1
  TransUnion is widely recognized as a reliable source of contact information for both
commercial entities and individual persons doing business or residing in the United States.



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including:       Progressive    Grocer     (www.progressivegrocer.com),     Meat     +     Poultry

(www.meatpoultry.com),         Poultry   Times   (www.poultrytimes.com),     Supermarket     News

(www.supermarketnews.com), Grocery Headquarters News (www.winsightmedia.com), Fast

Casual (www.fastcasual.com), and the Shelby Report (www.shelbyreport.com). Id.

           SGA’s arguments that the notice plan was not sufficiently implemented as to SGA are

without merit. SGA claims that the Settlement Administrator did not send notice of the

Settlements to SGA or the SGA subsidiaries. However, as previously illustrated, this notice plan

was tailored to “readily identif[y] [potential class members] through reasonable effort,” and “the

best notice that is practicable under the circumstances” as required by Fed. R. Civ. P.

23(c)(2)(B). The notice plan provided direct notice to the vast majority of class members, and it

was supplemented with a publication plan to reach the small percentage of class members who

did not receive direct notice. Consistent with Rule 23 of the Federal Rules of Civil Procedure and

applicable state court rules, all forms of the Court-approved Notice advised Class Members of

their rights and options under the Settlements, including deadlines to object or request exclusion,

among other information. Id., at ¶ 14. The deadline to opt out or object was March 9, 2020. Id.

Accordingly, SGA’s argument that the notice plan was legally deficient is completely without

merit. See, e.g., Juris, 685 F.3d at 1321; In re Adelphia Commc’ns Corp. Sec. & Derivatives

Litig., 271 F. App’x. at 44.

           SGA is also misplaced in its contention that JND did not send any form of notice to SGA

or its former subsidiaries Service of America (“SSA”), Foodservice of America (“FSA”), and

Ameristar Meats, Inc. (“Ameristar”). The Class List did not contain a record for SGA, but it

included records for SSA, FSA, and Ameristar, and Notices were sent to these Class Members,




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as detailed below. Keough’s Fourth Decl. at ¶ 17. On January 8, 2020, consistent with the

Court’s Order, JND mailed the Long Form Notice to SSA, FSA, and Ameristar. Id., at ¶ 18.

           Prior to commencing the mailing component of the Notice Program, JND updated the

Class Member mailing information on the Class List using data from the United States Postal

Service’s National Change of Address database.2 Id., at ¶ 8. The Long Form Notice mailed to

Food Service of America Minot was returned as undeliverable without a forwarding address. Id.,

at ¶ 19. In accordance with the procedures outlined in the Notice Program and above, JND

promptly conducted advanced address research to attempt to locate an updated address, but no

update was returned by TransUnion. Id. The remainder of the Long Form Notices mailed to the

above addresses were not returned to JND as undeliverable. Id.

           Consistent with the procedures outlined in the Notice Program and above, JND also

emailed the Email Notice to one email address associated with SSA and ten email addresses

associated with FSA. Id., at ¶ 20. None of these emails were returned or bounced back to JND.

Id., at ¶ 21. The data did not include an email address for Ameristar. Id., at ¶ 20.

           Furthermore, SGA’s challenge to the publication notice is without merit. As previously

mentioned, the Notice Program approved by this Court—which relies primarily on direct notice

to Class members supplemented by publication notice—is commonly used in class actions like

this one, and the Court rightly found that it was an effective supplement to the direct mail and

email notice required under the Notice Program. (Dkt. No. 3394, at ¶ 5). The supplemental plan




2
  The National Change of Address database is the official United States Postal Service (“USPS”)
technology product, which makes change of address information available to mailers to help
reduce undeliverable mail pieces before mail enters the mail stream. This product is an effective
tool to updated address changes when a person or entity has completed a change of address form
with the USPS. The address information is maintained in the database for 48 months.



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was targeted to reach class members, and appropriate in a case such as this where the primary

means of providing notice to the class is via direct notice.

IV.        CONCLUSION

           For these reasons, Interim Co-Lead Counsel respectfully request that this Court overrule

and reject SGA’s notice objection and motion. The Court-approved Notice Program was

reasonable and provided effective notice, certainly the best notice practicable under the

circumstances in this Action.

Date: February 5, 2021


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